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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF MARYLAND

          CRYSTAL LONG,                                  *



                               Plaintiff,                    *



                vs.                                      * Case No.

                                                         * 8° 17-CV-1955-GJH

          PENDRICK CAPITAL                               *



          PARTNERS II, LLC, et al.,                      *



                               Defendants.               *




                         The     deposition of KIM NANFELDT, Corporate

          Designee, took place on Thursday, February 22, 2018,

          beginning at 10:41 a.m. I at the Law Offices of

          Marshall, Dennehey, Warner, Coleman 6 Goggin, 50

          Glenmaura National Boulevard, Moosic, Pennsylvania,

          before Christine A. Messner, Court Stenographer and

          Notary Public in and for the State of Pennsylvania.



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          Reported by:                                                I|.k|\ -.J   x



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                   Christine A. Messner                          8y       .17 /   7 f  ~......



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      1     APPEARANCES:

      2        On behalf of the Plaintiff 4

      3        INGMAR GOLDSON, ESQUIRE

      4       The Goldson Law Office

      5        1734 Elton Road, Suite 210

      6       Silver Spring, Maryland 20903

      7        240-780-8829

      8        igoldson@goldsonlawoffice.com
      9

     10       On behalf of the Defendant Ability Recovery Services:

8
{'
     11       RONALD M. METCHO, ESQUIRE
     12        Marshall, Dennehey, Warner, Coleman 6 Goggin

     13       2000 Market Street, Suite 2300

     14       Philadelphia, Pennsylvania 19103

     15       215-575~2595

     16       rmmetcho@mdwcg.com
     17

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                               A l Betz s. Associates, Inc   4


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                                                                                            3
     1      APPEARANCES (contd.)
     2        On behalf of Pendrick Capital Partners:
     3        MORGAN MARCUS, ESQUIRE
     4        Sessions, Fishman, Nathan and Israel                                          4
                                                                                            8
     5        120 s. LaSalle Street, Suite 1960
     6        Chicago, Illinois 60603
                                                                                            a

     7        312-578-0985
     8        mmarcus@sessions.legal
     9        (Via telephone)
    10
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    1                                 I N D E X
     2                    DEPOSITION OF KIM NANFELDT
     3                        February 22, 2018
    4      EXAMINATION BY:                                                      PAGE:
    5      Mr. Goldson            Q              4       »       4                  .5
    6      Mr. Metcho             Q                              6              »   32
    7

    8      EXHIBIT:             DESCRIPTION:                                    PAGE:

    9      3        Verification                                                .16

    10     4        Request for production                                      .24

    11     5        Interrogatories                  ¢                  Q       .24
                                                                                             3
    12     6        Fact sheet                                          Q       .25
    13     7        Log                                      »                  •   26

    14     8        Collection letter                        »                  .30
    15     9        Collection letter                                           .30
    16     10       Credit disputes                                             •   35

    17     11       December 17, 2016 letter                                    .37
    18     12       January 31, 2017 letters                                    .37

    19

    20

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 1                          P R O C E E D I N G S

 2


 3                                      STIPULATIONS
 4


 5            It was agreed by and between counsel that all

 6     objections, except as to the form of the question,

 7     will be reserved until the time of trial.

 8            It was further agreed that the sealing and
 9     filing of the deposition transcript will be waived.
10


11     Whereupon
12                        KIM NANFELDT was called, and having
13     been duly sworn, was examined and testified as
14     follows:
15


16                        EXAMINATION BY MR. GOLDSON:

17               Q   •    Hi.
18               A.       Hi.

19               Q   ¢    Kim, can you just state your name and

20     address for the record please.
21               A.       Sure.          Kim Nanfeldt; 611 Powell Avenue,


                                8/.1,                           .. ,

                          Al Betz          As s o c ia te s , In c     0



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     1     Jessup, Pennsylvania 18434.
     2               Q   »     Thank you.       My name is Ingmar Goldson.
     3     I represent the plaintiff in the lawsuit against
     4      Ability Recovery Services as you may know.                    Just a
     5     couple preliminary questions.               Have you ever been
     6     deposed before?
     7               A.        No.
     8               Q   •     Okay.      I'm just going to give you a
     9     couple basic rules and Mr. Metcho can follow up with
    10     a few rules if he pleases.              First is to make your
1
    11     responses verbal because the court reporter cannot
    12     pick up body language, head nods or anything of that
    13     nature and try to stay away from answers like uh-uh
    14     and just say yes or no.             If you do not understand a
    15     question, please ask me to clarif y.
    16                         MR. METCHO:        The only thing I
    17               would add is conversations between you
    18               and I like as we had on the phone are
    19               protected by the attorney/client
    20               privilege     ¢    So if Mr. Goldson asks a
    21               question that may trigger a response
5
                                                                .. `J

                              Al Betz     Associates, Inc   •


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      1               that includes something you and I                                 3
                                                                                        3
                                                                                        1


      2               discussed in the past or something I

      3               discussed with your company, you do not                           31



      4               have to provide that response.
                                                                                        8


      5                            If that becomes an issue, I'll

      6               make you aware of it and we can decide

      7               whether or not it's privileged.               So just

      8               be aware that that could come up during
      9               the deposition.
     10                            THE WITNESS:     Okay.
     11                            MR. METCHO:     Thank you.
     12     BY MR. GOLDSONI
     13               Q   O        All right.     Ms. Nanfeldt, first a

     14     little educational background.                 What's the highest
     15     level    of       education that
     16               A.           Associate's.
     17               Q   •        Associate's.     Where did you get your
     18     Associate's?
     19               A.           Penn State.
     20               Q   •        Do you currently work at Ability
     21     Recovery Services?
3"



                                  Al Betz   Associates, Inc   1



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 1               A.        I do.

 2               Q   •     How long have you worked there?
 3               A.        Eleven years.
 4               Q   •     What is your current -~ are you on
 5      salary or are you paid hourly?
 6               A.        No.
 7               Q   4     You are paid hourly?
 8               A.        And a commission, hourly plus
 9     commission.
10               Q   u     Okay.    Can you tell me what your pay
11     structure is?        How much do you get hourly?
12               A.        Thirteen.
13               Q   •     And what's your commission rate?
14               A.        It varies.      It varies based on the
15     collections.        My annual is about $70,000 a year.
16               Q   ¢     Okay.    What's your current position at
17      Ability Recovery Services?
18               A.        I'm the collection manager.
19               Q   •     What are your duties as a collection
20      manager?
21               A.        I am in charge of the strategy to bring



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     1      the revenue in.           I place the accounts in the system.

     2      I do a little bit of IT work.              I work with the

     3      collection staff.           I work with clients, a little bit

     4      of everything     ¢




     5                QI          How many people, how many employees                        i

     6      does Ability Recovery Service have in its collection

     7      staff?
     8                A.          About 30.
     9                Q   4       How many employees as a whole does
    10      Ability Recovery Services have?
1
9   11                A.          About 37

    12                Q   4
                                  So other than the 30 collectors         I
                                                                                   who

    13      are the other employees and what do they do?                                     3




    14                A.          It would be clerical, they would be
    15      client liaison, they would be processing,
    16      administration; those types of positions.
    17                Q   •
                                  How many employees at Ability Recovery

    18      Services would have worked on the alleged debt of the
                                                                                             3
    19      plaintiff in this matter Crystal Long?
    20                A.          Four.

    21                Q.          Can you tell me their names?



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     1                 A.      I'm taking it -- I can't.            1'm taking           i

     2         an educated guess there.

     3                 Q   o   Okay.       But you can't say who those four

     4         employees were?

     5                 A.      Other than Mark.

     6                 Q   •   Okay.       What -- do you know their titles

     7         then, who those -- the four titles?

     8                 A.      It would be our clerical staff.

     9                 Q   4   When you say clerical, what does that

    10         mean?
»
    11                 A.      Their duties would be to handle

    12         e-OSCARs, you know, the disputes, you know, those                         3

    13         functions, you know, outside of the collection staff,

    14         requesting backup; those types of functions.

    15                 Q   i   Who does any sort of work with e-OSCAR

    16         at Ability Recovery Services?

    17                 A.      Currently?       There was probably a change

    18         since this matter to, you know, today.

    19                 Q   »   Yeah.       Last year.

    20                 A.      Shannon Saxon Price, Kathleen Turner                      3
                                                                                         3
    21         I'd say those would be our two main ones.


    I:    ».>v~~~ .



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     1               Q   •    How are Shannon and Kathleen           or how

    2      were Shannon and Kathleen          trained?

    3                A.       They would be trained by the compliance

    4      officer.

    5                Q   i    Who is that?

    6                A.       That's Audrey Conflitti

    7                Q   c    Was Ms. Conflitti involved in Crystal

    8      Long's disputes?

    9                A.       No.

    10               Q   •    Only Shannon and/or Kathleen were?

5
1
    11               A.       Yes.

    12               Q   •    Did Shannon and Kathleen ~- let me,

    13

                     A.       That's okay.

    15               Q.       Let me ask about them separately.                Did

    16     Shannon get training specifically on the FCRA?

    17               A.       I don't know.

    18               Q1       The Fair Credit Reporting Act I            Did

    19      Audrey get training specifically on the FCRA?

    20               A.       Yes.

    21               Q   •    Who trained Audrey?


                                                        ,..   .


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     1                         A.        Audrey would have trained Audrey.
     2                  Audrey is our compliance officer.           So Audrey would go
     3                  out and she would, you know, seek the knowledge and

     4                  pass it along.

     5                         Q   4     How long has Audrey been with Ability
     6                  Recovery Services?
     7                         A.        Since its inception, 2005.
     8                         Q.        Who are the owners of the Ability
     9                  Recovery Services?

    10                         A.        Michael Conflitti
/
    11                         Q.        What's his relationship to Audrey?
    12                         A.        Audrey is his daughter-in-law.
    13                        Q    1     Okay.   Does the collection staff at
    14                  Ability Recovery Services receive training on the
    15                  Fair Credit Reporting Act?
    16                         A.        Yes.
    17                        Q    •     Do they receive training materials?
    18                         A.        Yes.

    19                        Q    •     When do they receive that training?
    20                         A.        When they first start employment,          It's

    21                  all included in a binder that they keep at their
/
A


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     1      desk.
     2                Q   •    Were -- now, I'm going to show you the
     3     responses to the requests for production of documents
     4      in this matter.         Do you recognize that document?
     5                A.       Yes, I would say I do.
     6               Q    »    Did you organize the materials to turn
     7      over to the plaintiff and respond to that document?
     8               A.        I would say that would have been
     9      Audrey.
    10               Q.        So -- okay.      So Audrey responded to the
I
9   11     request for production of documents?
    12               A.        Yes.
    13               Q    •    Who conducts the Fair Credit Reporting
    14      Act training for the collection staff?
    15               A.       Jeremy, my supervisor Jeremy Mills.
    16               Q    •    Was Jeremy involved with any of the
    17      collection disputes for Crystal Long?
    18               A.       No.
    19               Q.       How of ten does Ability Recovery
    20      Services find that it's attempting to collect a debt
    21      from the wrong person?
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                                                           :,. _..»/



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      1               A.        I don't know.

      2                         MR. METCHO     O
                                               O   I'm going to object

      3                to the form of the question, but you can

      4               answer if you are able.

      5                         THE WITNESS:       I don't know the

      6               answer to that.

      7      BY MR. GOLDSON:

      8               Q   •     But it does happen?

      9               A.        Occasionally.

     10               Q   •     Do you have any idea of what the error
11

     11      rate is?
     12               A.        I don't.

     13               Q.        As a debt ~- as a collection agency,

     14      how much does Ability Recovery Services collect on an

     15      annual basis?

     16               A.        I don't know.

     17               Q.        Can you estimate?

     18               A.        I don't know the answer to that.                I

     19      would -- that's not part of what I do there.

     20               Q.        Okay.       Is Ability Recovery Services

     21      indemnifying Pendrick in this matter?
;




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                 A.         I believe so.
 2               Q   •      How many accounts does Ability Recovery
 3      Services collect on Pendrick's behalf?

 4               A.         About 500,000.                 Now, they are not all
 5      collected, that's what we have in our system.
 6               Q   •      About 500,000 different accounts?
 7               A.         Mm-mm.

 8               Q   •      Does Ability Recovery Services carry
 9      liability insurance?
10               A.         Yes             •




11               Q.         Is Pendriek named in that liability
12      insurance?

13               A.         I believe so, but I don't work with
14      those types of documents.
15               Q.         I'm going to show you this document.
16      That is a verification sent to the plaintiff by your
17      employer Ability Recovery Services                        4       Is that your
18      signature?
19               A.         Yes.
20                          MR. GOLDSONI                 I would like to mark
21               this as the next exhibit.


                           ./2 _"   ¢/»z»



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      1                         (Whereupon Exhibit 3 was marked                          3
      2               for identification.)

      3      BY MR. GOLDSON2

      4               Q.        The next document that I'm going to
                                                                                         3
      5      show you is the response to the interrogatories.                    Ms.

     6       Nanfeldt, is it true that with the verification that

      7      I just showed you that you verified all the responses

      8      to those interrogatories are true?

      9               A.        Yes.

     10               Q   4     Is that your testimony today?

     11               A.        Yes.

     12               Q   »     I'd like to direct your attention to

     13      interrogatory number ten, if you could just read

     14      that?                                                                       3.
     15                         MR. METCHO:      That was it.       You can

     16               flip it.
     17      BY MR. GOLDSON:
     18               Q.        You can read the question, the

     19      interrogatory out for the record.

     20               A.        Right here?

     21               Q   u     Yes.
/.




                                                                                         8
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     1               A.        In light of the allegations in the                        l
     2      complaint, please identif y each incident where you
     3      erroneously verified credit information relating to
     4      plaintiff which should have not have been verified.
     5               Q   4     Okay.     You can read the response to

     6      interrogatory number ten, you can read it out for the
                                                                                         3
     7      record or to yourself.

     8               A.        ARS objects to this interrogatory on

     9      the grounds that it is confusing, vague, overbroad
    10      and not calculated to lead to the discovery of
    11      admissible evidence.          Subject to and without                         3
    12      having -- without waiving these objections, ARS                              8
    13      responds that it does not have any information that                          3
    14      is or may be responsive to this interrogatory as it
    15      did not erroneously verify credit information related                        3




    16      to plaintiff which allegedly should not have been
    17      verified.
    18
                     Q   O     Do you stand by that answer today?
    19                A.       Yeah.
    20               Q   •     Do you still maintain that the
    21      plaintiff Crystal Long owes a debt to Ability

                                                                                         3



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      1      Recovery Services or Pendrick?
      2               A.               I don't think we actually know the
      3      answer to that.               I don't know.
      4               Q   •            When Ability Recovery Services first
      5      received the account from Pendrick, at that point did
      6      Ability Recovery Services deem that the plaintiff
      7      Crystal Long owed that money to Ability and Pendrick?
      8                                MR. METCHQ:     I'm going to object
      9               to the form of the question.                      If you
     10               understand it, you can answer.
I.
                                       THE WITNESS!     I don't think we
     12               really know who owes what until we get
     13               to situations a little bit f arther down
     14               the road.             If someone tells us they
     15               don't owe it, you know, then we take a
     16               look at the information that we have on
     17               file and take it from there.                      So to say
     18               whether she owed it or not when it first
     19               came to our office, I don't know the
     20               answer to that.
     21     BY MR. GOLDSON:
g




                              :.w s.



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                     Q.        Okay.    Thank you.      In your response you

     2      just said take it from there, what -- can you

     3     describe that process?

     4               A.        Sure.    In the case Crystal Long she

     5     called in from a letter, she was disputing it.                   We

     6     put it in a disputed status and reported it to the

     7      bureaus as disputed.         She didn't get any more phone

     8     calls.     She didn't get any additional letters             »




     9                         At that point, you know, she didn't

    10     provide any additional information to us to state

    11     that it wasn't her, so we left it in a disputed

    12     status.        You know we get the e-OSCARs over with no

    13     additional information, so we verified what we had on

    14     the system which was unknown.

    15               Q.        When you said verified as unknown, can

    16     you explain what you mean by that?

    17               A.       Sure.     When an e-OSCAR comes over and

    18      they're saying, you know, this isn't my debt, we take

    19     a look at the information that came over with the

    20     file and that was loaded in our system.                In Crystal's

    21     case that information was unknown.
I

                                   :


                              Al Betz    Associates, Inc
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                                                                           Kun Nanfeldt
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     1                         We didn't have a Social, we didn't have

     2      a date of bir th and that's what we repor ted back to

     3      over to the bureaus is that information to identify
     4      her as either being responsible or not responsible
     5      for the debt was unknown.
     6               Q.        Is it your testimony that Ability
     7      Recovery Services did not respond to the disputes
     8      that the reported information was accurate?
     9               A.        We repor ted it as unknown, that was
    10      accurate.

    11               Q   •     What was accurate?
                                                                                           8
    12               A.        That the information was unknown was

    13      our accurate response.          We did not know that                           3
    14      information.

    15               Q   •     So did Ability respond that the                             3
    16      information was accurate?

    17               A.        We responded that it was unknown.

    18               Q   •     Okay.     All right.      I'm going to show
    19      you a document that was turned over for requests for
    20      production in this case.           Do you recognize that

    21      document?
I                                                                                          281




                                                                                   4) we   .


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         1                A,        I do.

         2                Q.        What is it?
         3                A.        That's our activity history from
         4      Crystal Long's account.
         5                Q   •     Okay.     And was that document created in

         6      the regular course of business for Ability Recovery
         7      Services?

         8                A.        Yes.

         9                Q   •     Okay.     Sorry.

    10                    A.        That's okay.
:
    11                    Q.        I have one copy so let me take a quick

        12      look.     I'm going to ask you a few questions about

    13          that document

        14                A.        Sure.

    15                    Q   4         that doesn't seem clear at this

    16          point.        Here it says broken promise work was A51
        17     Can you explain what that means?
        18                A.       That just means that this in our world
    19          is an open queue.           Based on what happens with the
    20          account, the accounts are rearranged in priority.                        So

    21          this was something that right here, okay?


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     1               Q   •     Yeah.

     2               A.       Rolled out to an A51 queue.             So it's

     3     just an open queue is all that is.               It just means

     4     that no collector has ownership of that account and

     5     wants to continue to work it.

     6               Q   •    Okay.      Here at May 24 it says e-OSCAR

     7     verified, image added and e-OSCAR verified.                   What is

    8      your understanding of what that means?

     9               A.       That means that the e-OSCAR dispute came

    10     in and they took a look at it, they reviewed the Debt

!   11     Master and they verified the information that we had

    12     on file.
    13               Q.        Were there any other steps taken?

    14               A.       Other than viewing the account?

    15               Q   n    yeah.

    16               A.       I don't believe so       •




    17               Q   »    Sorry.

    18               A.       That's okay.

    19               Q   a    Just for the record right here where it

    20     says gave copy to Audrey, is that Audrey Conflitti?

    21               A.       Yes.     Complaint received, added to



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             docket, yeah.       So that would have been the complaint

      2      that was received on that day, yeah.

      3               Q   ¢     Okay.    Thank you.      I see a list of

      4      phone numbers here and then it says CBC skip four

      5      times.       What is CBC skip?

      6               A.        CBC skip, CBC Innovis is a company that

      7      we use to batch our accounts out to retrieve the best

      8      location information possible, meaning phone numbers
      9      and addresses.       So we'll take the information that we

     10      have from our client, the way the file came over and
I
     11      we'll create a file and send it out for a batch.                   CBC

     12      will return information, what they consider to be

     13      their best information so that we can reach out and

     14      locate the eonsumer.

     15               Q   •     Okay.    So that would be you're
     16      describing Ability Recovery Services' skip tracer?
     17               A.        Yes.
     18               Q   •     Does Ability Recovery Services use any
     19      other skip tracers?
     20               A.        No.

     21               Q   •     In your response -- I'm sorry.             In your
;.




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     1      response to the interrogatories here, the first

     2      interrogatory requests information for anyone who

     3      knows any f acts alleged in, any information, any

     4      f acts alleged in the complaint.               We didn't receive

     5      anything about any skip tracers, do you know why?

     6                A.       Was the question asked?            I don't know.

     7                         MR. METCHO:       I'm going to object

     8                to the question on the grounds that it

     9                may seek information that is protected
    10               by the attorney/client privilege, but
    11                you can answer if you are able.

    12                         THE WITNESS:        I don't know why it

    13                wouldn't have been included.             I don't

    14                know the answer to that.
    15                         MR. GOLDSON:        Okay.    That's fine.

    16                I would like to mark this as Exhibit 4.

    17                         (Whereupon Exhibits 4 and 5 were

    18                marked for identification.)
    19      BY MR. GOLDSONZ
    20               Q   •     All right.       The next document that I'm

    21      going to show you is a document that I believe we
1




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     1      received         from Pendrick in    this matter.

     2                            MR. METCHOZ    For the record, as
     3               counsel for Ability, I do not recognize
     4               this document, but I will allow Ms.
     5               Nanfeldt to view it for purposes of
     6               engaging in this deposition.
     7                            THE WITNESS:     I don't recognize
    8                this either.

     9                            (Whereupon Exhibit 6 was marked
    10               for identification.)
    11      BY MR.       GOLDSON:
    12               Q   •        Okay.    The next document I'm going to
    13      show you is a document I received from your employer
    14      Ability Recovery Services.             Do you recognize that
    15      document?
    16               A.          No.
    17               Q   •        Do you know what this document states,
    18      the information in this document?
    19               A.          No.
    20                            MR. GOLDSON'     We'll mark this      as

    21               the next       exhibit.

4




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         1                         (Whereupon Exhibit 7 was marked

         2               for identification.)

         3      BY MR. GOLDSONI

         4               Q.        Is it Ability Recovery Services'

         5      position that the plaintiff Crystal Long owes Ability

         6      Recovery Services or Pendrick money from a medical

         7      debt?

         8               A.        I don't think we know at this point.

         9               Q•        I'm going to show you two collection

        10      letters sent by Ability Recovery Services sent to us

i   11          by your employer in response to a production of

        12      documents.       Do you recognize those documents?

    13                   A.        Yes.
        14               Q   ¢     The first document, can you tell me

        15      what that document is?

    16                   A.        That's a collection letter.

    17                   Q   u     What's the balance on that letter?

    18                   A.        55.50 af ter the discount.

    19                   QI        Okay.     Af ter the dispute phone call

    20          when Crystal Long called, this aecount did not show

    21          up on her credit report.           Do you know why that is?


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        1                          MR. METCHOZ        I'm going to object

        2                to the question on the grounds of form

        3                and seeks speculation, speculatory

         4               information.        B u t , Kim, y o u c a n a n s w e r

        5                if you're able.

        6                          THE WITNESS:        I don't recall when

        7                it showed up on her credit report.

        8       B Y M R . GOLDSON:

         9               Q•        Okay.     And the second document

    10                   A.        Right.

    11                   Qo            can you describe that document?

    12                   A.        Well, it looks like it's the same
    13          letter just a different account, discount letter
    14          validation.
    15                   Qi        What's the balance on the account?

    16                   A.        843,75.

    17                   Qi        Do you know why this account appeared
    18          on Crystal Long's credit report while this account
    19          I'm sorry.      For the record, why the account with the

    20          total balance where it says your balance is $1,125,

    21          why that $1,125 account showed up on the credit
/
5




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     1      report and the $74 account did not show up on her

     2      credit report?

     3               A.          I can tell you that credit reporting is

     4      par t of our collection sof tware.             Okay.    That

     5      information is built in.           Okay.     It goes out to each

     6      account and it creates the file based on the

     7      information that comes over in the file from our

     8      clients.         That information is gathered and it's
     9      uploaded to each of the major bureaus.                 The bureaus

    10      then take the information that we've provided and
    11      they find the best fit for it.
    12                          So we're uploading the information that
    13      we have in the system.           I believe there was probably
    14      a little bit more information maybe on one of the
    15      accounts than the other, but you know that's how the
    16      credit reporting process would work.                We upload the
    17      information that we have in our system.                 The credit
    18      bureaus decide the best fit.

    19               Q   o       So is it your testimony that this $74

    20      account was reported in the same f ashion as the

    21      $1,125 account to the credit reporting agencies?
J




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    1                 A.         Whatever information        that       would have

    2       been in each respective account would have been

     3      uploaded to the bureau.
    4                 Q   4       Okay.    So the difference in reporting,

     5      your testimony is that it's because of the credit

    6       reporting agencies, not Ability?
     7                A.          There's different       information       in    each

    8       account.          So the bureaus   would have      looked at each

     9      one individually and made the best bet.
    10                Q   •       Okay.    Does Ability Recovery Services

    11      generate these documents, these two collection
    12      letters?
    13                A.          We send a    file over to our          letter

    14      company and they would generate them.
    15                Q.          Okay.    Does Ability Recovery Services

    16      generate those documents through the regular course

    17      of its business?
    18                A.          Yes.
    19                Q   •       Okay.    Thank you.
    20                            MR. GOLDSON:      I'd like to mark

    21                these exhibits separately please              1


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     1                         (Whereupon Exhibits 8 and 9 were

     2               marked for identification.)

     3     BY MR. GOLDSON:
     4               QI        When Ability Recovery Services received

    5       credit disputes from the credit reporting agencies

     6      about the plaintiff's account, was Ability Recovery

     7      Services' response consistent with its credit

     8     reporting reinvestigation policies and procedures?

     9               A.        Yes.

    10               Q   •     Did Ability Recovery Services
    11      communicate with Pendrick about this account af ter it

    12      received the disputes?
    13               A.        No.

    14               Q.        When did Ability first report

    15      information about the plaintiff to the credit

    16      reporting agencies?
    17               A.        I don't know the exact day, but it

    18      would have been more than 30 days from the plaeement

    19      date.
    20               Q.        That's the policy
    21               A.        yes I
I



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      1                   Q   ¢            more than 30 days?                    When you say

      2           more than 30 days, is that because Ability Recovery

      3          Services sends out the information on the same day of

      4           each month?

      5                   A.         No.     It's -- that's what the law

      6           requires.       The law requires that there's a validation

      7           period of 30 days.           So whatever that next credit

      8           reporting cycle would f all af ter that 30-day period

      9           is when the account would go over.

     10                   Q   •      Thank you.        All right.                    When Ability

                  reports an account or credit reporting agency, is

     12           Ability telling the credit reporting agency that the

     13           consumer owes that debt?
     14                              MR. METCHO:         I'm going to object

     15                   to the form of the question, but you can

     16                   answer it if you are able.

     17                              THE WITNESS:          I mean basically we
     18                   are saying this is the information
     19                   that's been provided to us and we send
     20                   that information over                  And based on the

     21                   information that's in that file, the
5



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     1                credit bureau makes the decision if

     2                there's enough information to place it

     3                on the record.
     4       BY MR. GOLDSON:
     5                Q.        Does Ability ever make a determination

     6       as to whether or not any of the consumers that it

      7      pursues for debt actually owe that debt?
     8                A.        I don't understand your question.

     9                Q   »
                                Does Ability ever make, ever come to

     10      the conclusion through its collection process that a

     11      collector, sorry, that a consumer actually owes the

     12      debt that Ability Recovery Services purports that
     13      that consumer owes?

     14               A.        That comes from our partnership with

     15      our clients and the ability, you know, to -- we
     16      partner with, you know, clients that are credible and

     17      that you know these people, you know, do all the

     18      debts and they can provide the backup that says that

     19      they do.
     20               Q.        In this case with the plaintiff Crystal

     21      Long, Pendrick your partner sent placement data for a
I.




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     1     Crystal Long that lived in Baltimore.                Ability sent a                  g
                                                                                                3
                                                                                                1
    2      letter to the plaintiff and that letter went to
                                                                                                8
                                                                                                8
    3      Bowie, Maryland.         So where did Ability get the Bowie,

    4       Maryland address?

    5                A.       CBC Innovis.

    6                Q   •    I'm showing you here the credit                                   3
    7      disputes for ACDVs, there's four of them there and

     8      those are the documents that Ability Recovery

    9       Services sent the plaintiff in response to the

    10     request for the production of documents.                 Do you

            recognize that document?

    12               A.       I don't work hands on with these, but I

    13      do know that it's an e-OSCAR.

    14               Q.       Okay.     Do you know how these documents

    15      are generated?

    16               A.       They come to us, the girls log in                                 3
                                                                                                3
    17      online and pull the information down that way from

    18      like a queue.

    19               Q   o    How does Ability Recovery Services

    20      receive this document?

    21                        Other than the girls logging in online
E
                     A.
                                                                                                3
                                                                                .. y ;...e, f   3
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             and getting the information through, you know, their
                                                                                         3
     1


     2       website, I don't know.

     3                Q   •     When you say the girls log in online,

      4      are you talking about into the e-OSCAR system?

      5               A.        Yes.

      6               Q.        Okay.     Thanks.     Can you just turn to               3
      7      the second page.          Can you read that last sentence

      8      there for the record.
                                                                                         4
      9               A.        Down here?                                               3
     10               Q   a     Yes.
x
     11               A.        By submitting this AcDv you certif y

     12      that you have received and considered all associated

     13      images, you have verified the accuracy of the data in

     14      compliance with its legal requirements and your

     15      computer and/or manual records will be adjusted to

     16      reflect any changes noted.
                                                                                         ;
     17               Q.        Okay.     Just for the record where it

     18      says reviewed, I believe you said received.

     19                A.       Sorry.     My eyes aren't what they used

     20      to be.

     21               Q.        All right.      So what's your
I.
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       1         understanding of that statement?
       2                   A.        That    we have   reviewed the account and

       3         the information that we are reporting over is

       4         correct.

       5                   0.        Okay.
       6                             MR. GOLDSON:        I would like to go

       7                   ahead and mark the exhibit.
       8                             (Whereupon Exhibit 10 was marked

       9                   for identification.)
     10          BY MR. GOLDSONZ
II
y    11                    Q   u
                                     Ms. Nanfeldt, is it your understanding

     12          when you respond -- when you responded, I'm sorry,

     13          when ARS, Ability Recovery Services, responded to

     14          those disputes, is it your understanding that that

     15          response was confirming the reporting as accurate?

     16                    A.        I think it was doing neither.                  It was

     17          saying this is the information that we have.

     18                    Q   ¢     Okay.
     19                    A.        Or just saying that the information we

     20          sent   over was     correct.

     21                    Q   4
                                     The information that you were sending


     1~:.,»



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      1     is correct, it's your understanding of the
      2     verification of those disputes?
      3               A.             I'm saying the information as her name,

      4     her address, the information that we have on file

      5     that went over in that string to the credit bureaus

      6     was correct.
      7               Q.             Okay.   Did Ability Recovery Services
      8     confirm the debt as accurate with the first ACDV?

      9               A.            I don't know.
     10               Q.             Did Ability Recovery Services confirm
I1
            that the debt is accurate for the second and third

     12     disputes?
     13               A.             I'm not that f amiliar enough with them
     14     to answer that.
     15               Q   •          What is e-OSCAR?

     16               A.            e-OSCAR is the online disputing site        •




     17     Consumers go there, they put their dispute in, it
     18     comes    to       us   and we answer it.

     19               Q   »         Next I'm showing you the consumer, the
     20     plaintiff in this matter Crystal Long's dispute,
     21     first dispute letter.              Do you recognize that



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         1      document?
         2                A.       No.
         3                         MR. GOLDSONZ         I I ll mark that as

         4                the next exhibit.

         5                         (Whereupon Exhibits 11 was marked

        6                 for identification.)

         7      BY MR. GOLDSON:
        8                 Q.       I'm showing you three disputes sent by

         9      the plaintiff Crystal Long sent to the credit

        10      reporting agencies.           Do you recognize any of those

        11      documents?
        12                A.       No.
        13                Q   4    Okay.      Thanks.

        14                         MR. GOLDSON:         I would like to mark

        15                those as one exhibit.

        16                         (Whereupon Exhibit 12 was marked

        17                for identification.)

        18      BY MR. GoLDson-
        19                Q   Q    Ms. Nanfeldt, who at Ability uses

        20      e-OSCAR?
        21                A.       Shannon Price, Kathleen Turner.                 At



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 1      that time that would be those two.
 2               Q   •     Okay.     Who trained Shannon Price and

 3      Kathleen Turner on the use of e-OSCAR?

 4               A.        Audrey Conflitti
 5               Q•        Do you know if Audrey Conflitti used
 6      any computer programs or training materials when they
 7      trained?
 8               A.        I don't.

 9               Q   Q     Does Ability Recovery Services record
10      the phone calls that it makes and that it receives
11      from consumers?

12               A.        Yes.

13               Q.        Who receives those phone calls at
14      Ability Recovery Services?
15               A.        They go into our recording drive.
16               Q.        Okay.     Which employees receive the
17      calls?       When a call comes in to Ability Recovery
18      Services from a consumer that receives a letter,
19      which employees field those calls?
20               A.        All of them.
21               Q   o     Okay.     All the collection employees?



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 1                A.       All of the collection staff, yes.

 2                Q   •    Thirty of them, right?
 3                A.       Yes.
 4                Q4       Do any members of the collection staff

 5      have the ability to stop recording?
 6                A.       No.

 7                Q   •    Does anybody at Ability have the

 8      ability to edit the calls af ter --
 9                A.       No.
10                Q              they are recorded?          That's all     I
                                                                                    3
                      •




11      have.
12                         MR. METCHOZ           I do have some
                                                                                    g
13                follow-up questions.             Do you mind if we
14                take a five to ten~minute break?
15                         MR.    GOLDSONI        That's fine.

16                         (Whereupon a recess took place.)
17

18                                         EXAMINATION
19      BY MR. METCHO'
20                QC       So, Kim, again what is -- in November

21      of 2016, what was your position with Ability?

                                                                                    3
                                                                                    3
                           A l Betz Associates, Inc
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        1                 A.        Collection manager.
       2                  Q   ¢     Okay.      And when did you first become

       3          aware of Crystal Long's account with Pendrick?
        4                 A.        I would say when the lawsuit came.

       5                  Q   •     Okay.      Were you involved at all with

        6         the specific collection of the account?
       7                  A.        No.

        8                 Q   •     We did take a look at these account

        9         notes earlier, correct
     10                   A.        Yes.
     11                   Q   •           which was marked as Exhibit 2?

     12                   A.        Yes.

     13                   Q   •
                                    You were not involved in the collection

     14           of this particular account, however you are f amiliar

     15           with the collection notes and what they report;

     16           correct?

     17                   A.        Yes.

     18                   Q   •     Okay.      In these notes ean you tell me,

     19           we're looking at the debtor activity history, when
     20           was the initial collection letter sent to Ms. Long?

     21                   A.        November 12, 2016.
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      1               Q.        Okay.     And was there any response to

      2      that letter received in writing?
      3               A,        Not that I'm aware of.
      4               Q.        Okay.     When did Ability receive the

      5     call from Ms. Long?
      6                         November 22,      | 16.
                      A.

      7               Q   o     Okay.     And the entry af ter the November

      8     22 entry, what does that reflect?
      9               A.        The e-OSCAR dispute.
     10               Q   i     Okay.     And what does that mean?

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g
\
     11               A.        That means that she went and -~ she
     12      went to the credit bureaus, the ones online and
     13     disputed it.
     14               Q.        Okay.     And going back to the November

     15      22, '16 entry, can you just read what the entry

     16      means, what it says, excuse me?
     17               A.        Sure.    That's taking an account from a

     18      new status to a disputed status.
     19               Q   1     And why would that occur?
     20               A.        That would occur because she spoke to
     21      someone and she relayed that information to us.
II

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                                                                                      Page 42
      1               Q    1    Okay.     Look at this debtor activity

     2       history which you are f amiliar with.                Did Ability

      3      place any calls to Ms. Long?
      4                A.       No.

      5               Q.        Okay.     Other than the November 22              I    2016

      6      entry, did Ability receive any other calls from Ms.

      7      Long?
      8                A.       No.

      9               Q    •    Okay.     When did Ability cease
     10      collection activity on the account?
/.
     11                A.       November 22, 2016.
     12               Q    •    What I'm going to show you now are a

     13      few letters that were presented to you.                 It looks

     14      like Exhibit 11, 12 and then 13 and 14.                 We should

     15      mark these.       No, excuse me, 11 and 12 was the three

     16      documents.

     17                         Looking at these letters, who are they

     18      addressed to?

     19                A.       Sir or madam.

     20                Q        On the actual mailing address            o




     21                A.       Equif ax.
5




                                Al Betz     Associates, Inc
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                                                                                       Page 43
      1                        Q   o   Okay.     And that's on Exhibit 11.     I
                                                                                       If

     2              you can take a look at Exhibit 12 the first document,

      3             who   is   that addressed to?

      4                        A.      Experian.
      5                        Q   •   The second document?

      6                        A.      Equif ax.

      7                        Q   •   And the third?

      8                        A.      TransUnion.

      g                        Q   •   Okay.     Taking at look at these

    10              documents, was Ability Recovery Services cc'd or
/                   copied on any of these letters that were sent to the

    12              credit bureaus?
    13                         A.      It doesn't appear to so.

    14                         Q   •   Was Pendrick?

    15                         A.      I don't think so.

    16                         Q   •   It's a yes or no question.

    17                         A.      No.

    18                         Q   O   Okay.     Were any other entities other

    19              than the specifie credit bureaus?
    20                         A.      No.

    21                         Q   4   Okay.     In your opinion looking at
/


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     1      debtor history, the documents we've gone through

    2       during this deposition, did Ability correctly report

     3      all trade line information that was obtained and

     4      received from the credit bureaus?

     5               A.        Yes.

     6               Qo        Okay.       Do you have any reason to

     7      believe that any of the information that was reported

     8      by Ability to the credit bureaus was inaccurate?

     9               A.        No.

    10               Q   •
                               Do you have any reason to believe that
I
    11      any of the information regarding the disputes that

    12      was exchanged between the credit bureaus and Ability

    13      was untimely?

    14               A.        No.

    15               Q.        Do you believe that the policies and

    16      procedures that are in place regarding Ability's

    17      disputes and theirprocess are compliant with the

    18      FCRA?
    19               A.        Yes.

    20               Q   I     I have nothing further.

    21                         MR. GOLDSONI           And just to clarif y



                               Al   Betz    As s o c ia te s , In c
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      1                  because I don't believe I mentioned this

      2                  at the beginning, Ms. Nanfeldt, you are
      3                  testif ying as the corporate designee of
      4                  Ability Recovery Services today,
      5                  correct?
      6                            THE WITNESS:         Yes.
      7                            MR.    GOLDSON:      That's      it.   Nothing
      8                  further.

      9                            MR. METCHO:        Morgan, do you have
    10                   anything?
/   11                             MR. MARCUS:        I don't have anything
    12                   at this time.         But, Ron, give me a call
    13                   later if you have time to speak.
    14                             (Whereupon the deposition was
    15                                   concluded at     11:59 a.m.)

    16

    17

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      1                       C E R T I F I C A T E

      2


      3              I, Christine Messner, a Notary Public in and
      4      for Wyoming County, Pennsylvania, do hereby certif y

      5      that the deposition was reported in machine
      6      shorthand by me, that the said witness was duly
      7      sworn/affirmed by me, that the transcript was
      8      prepared by me or under my supervision and
      9      constitutes a complete and accurate record of same.
     10
/.
     11               I fur ther cer tif y that I am not an attorney
     12      or counsel of any parties, nor a relative or
     13      employee of any attorney or counsel connected with
     14      the action, nor financially interested in the
     is      action.
     16

     17

     18

     19                           Christine Messner
     20

     21
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                                A l Betz   Associates, Inc:
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      1                       AL BETZ 6 ASSOCIATES, INC.
       2                         Administrative Offices
       3                                P.O. Box 665
       4                      Westminster, Maryland                    21158

      5           VOICE       <410)752-1733           FAX - (410)875-2857
      6             E-mail- productiondept@albetzreporting.com
       7                         www.albetzreporting.com
      8


       9      DATE: March 8, 2018
      10      JOB NUMBER:      l80222key_(l)nanfeldt_kim
 I
      11      CASE CAPTION: Crystal Long v. Pendrick Capital
      12      COURT: US District Court, District of Maryland
      13      CASE NUMBER:       8:17-CV-1955-GJH
      14      DEPONENTI Kim Nanfeldt
      15      DATE OF DEPOSITIONZ February 22, 2018
      16      ATTORNEYS/FIRMS:
      17         Inqmar Goldson, Esq. / The Goldson Law Office
      18         Ronald M. Metcho, Esq. / Marshall Dennehey
      19

      20

      21
_g.




                                 Al Betz    As s o c ia te s , Inc .
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     1      Dear   Sir   or Madam:

    2


     3                    Bound herewith is the transcript of the
     4      above-referenced deposition.               Please read the
     5      transcript and sign the errata pages.                   Any
     6      additions     or corrections        should    be    listed    on       the

     7      errata sheets provided.             Please remove the signed
     8      completed errata sheets, and return them to the
     9      address listed above for processing.
    10

    11                    If this process has not been completed
    12      within (30) thirty days from the date of this
    13      letter, we will assume that the right to read the
    14      deposition has been waived.               This is in accordance
    15      with Rule 30(e) of the Federal Rules of Civil
    16      Procedure and Rule 2-415 of the Maryland Rules of
    17      Procedure.

    18

    19

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                               Al Betz    Associates, Inc
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s                                                                              Page 49

     1                          READING & SIGNING PROCEDURE
     2


     3                    The Deposition of Mark Carlson, taken in
     4      the matter, on the date, and at the time and place
     5      set out on the title page hereof.
     6                    It was requested that the deposition be
     7      taken by the reporter and that same be reduced to
     8      typewritten form.
     9                    It was agreed by and between counsel and
    10      the parties that the Deponent will read and sign
J
    11      the transcript of said deposition.
    12


    13


    14


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                               Al   Betz    As s o c ia te s , In c   o


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    F                                                                                    Page 50
         1                         DEPOSITION ERRATA SHEET
         2      RE:    Al Betz     &    Associates       Inc.
                                                     I



         3      FILE NO.        l80222key_(1)nanfeldt_kim
         4      CASE CAPTION:           Crystal Long v. Pendrick Capital
         5      DEPONENTI       Kim Nanfeldt

         6      DEPOSITION DATE:           February 22, 2018
         7                    I have read the entire transcript of my
         8      Deposition taken in the captioned matter or the
         9      same has been read to me.                I request that the
        10      changes noted on the following errata sheet be
        11      entered upon the record for the reasons indicated.
        12      I have signed my name to the Errata Sheet and
        13      authorize you to attach it to the original
        14      transcript.
        15      PAGE/LINE               CHANGE                      REASON
        16

        17

        18

        19

        20      SIGNATURE:                                           DATE:
        21                             Kim Nanfeldt
4



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                                  A l Betz    Associates, Inc   0


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    i.                                                                                            P a g e 51
              1      P AG E /LINE          CHANGE                                   REASON
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                      --4                                  lu--



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         20         S IGNATURE:                                                     _ DATE :
         21                               Kim Na nfe ldt
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                                                                  .Y»ml."   .


                                       Al Betz    Associates, Inc               •

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     testifying (1)45:3    true (2) 16:6,8         17:3,4,17 19:13             47:7                2000 (1)2:13
     testimony (4)         try (1)6:13             19:15 22:7,7,l l           Wyoming (1)46:4      2005 (1) 12:7
        16:10 20:6 28:19   turn (2) 13:6 34:6      34:13                                           2016 (5)4:17
        29:5               turned (1)20:19       verify (1) 17:15                      X             39:21 40:21 42:5
     Thank (6)6:2 7:11     Turner (3) 10:20      view (1)25:5                 X (1 )4 :1             42:11
        19:1 23:3 29:19      37:21 38:3          viewing (1)22:14                                  2017 (1)4:18
                                                                                       Y           2018 (5) 1:12 4:3
        31:10              two (4) 10:21 26:9    VOICE (1) 47:5
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     Thanks (2)34:6          29:11 38:1          vs (1) 1:5
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        37:13              types (3) 9:16
                             10:14 15:14               w                        2 3 :l,2           210 (1)2:5
     thing (1)6:16
                                              waived (2)5:9                   ye a r (2)8:15       21158 (1) 47:4
     think (5) 18:2,11     typewritten (1)
                             49:8              48:14                            10:19              215-575-2595 (1)
        26:8 35:16 43:15
                                              waiving (1) 17:12               years (1 )8 :3         2:15
 /   third (2)36:11
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        43:7                        U         wants (1)22:5                                        22 (9) 1:12 4:3
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     Thirteen (1)8:12      uh-uh (1)6: 13     Warner   (2) 1:14
     thirty (2)39:2        understand (3)      2:12                                        0         42:11 47:15 50:6
        48:12                6:14 18:10 32:8  wasn't (1) 19:11                                     2300 <1>2: 13
     three (2)37:8         understanding (5) way (2)23:10                               1          24 (3)4:10,ll 22:6
        42: 15               22:8 35:1,l1,14   33:17                          1)nanfeldt__kim ..   240-780-8829 (1)
     Thursday (1) 1:12       36:1             we'll (3)23:9,11                  47110 50:3           2:7
     time (5)5:7 38:1      UNITED (1) 1:1      25:20                          1,125 (3) 27:20,21   25 (1)4112
        45:12,13 49:4      unknown (7)        we're  (2) 28: 12                 28:21              26 (1)4213
     times (1)23:5           19114,15,21 20:5  40:19                          10 (2)4116 35:8
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     title (1)49:5                                                            10:41 (1) 1:13
                           untimely (1)44: 13  44:1                                                3 (2)4:9 16:1
     titles (2) 10:6,7                                                        11 (5)4217 37:5
                           upload (1)28:16    website (1) 34:2                                     30 (9)4:14,15 9:8
     today (4) 10:18                                                            42:1-4,15 43:1
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        16:10 17:18 45:4                                                      11:59 (1)45:15
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     total (1)27:20                                                           12 (6)4:18 37:16
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     tracer (1)23:16                                                            40:21 42:1-4,15
                             28: 12            47:4                                                30(e ) (1)48:15
     tracers (2)23:19                                                           43:2
                           use (3)23:7,18     witness (9)7:10                                      3 1 (1)4:18
        24:5                                                                  120 (1)3:5
                             38:3              14:5 18:11 24:12                                    312-578-0985 (1)
     trade (1)44:3                                                            13 (1)4244
                           uses (1)37:19       25:7 27:6 31:17                                       3:7
     trained (6) 11:2,3                                                       14 (1)4244
                                               45:6 46:6                                           32 (1)4:6
        11:21 12:1 38:2                                                       16 (3)4:9 41:6,l5
                                    V         work (10) 7:20 9:2                                   35 (1)4:16
        38:7                                                                  17 (1)4217
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     training (7) 11:16                                                       1734 (1)2:5
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    4 (3 )4 :1 0 2 4 :I6 ,l7
    410)752-1733 (1)
      47:5
    410)875-2857 (1)
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    5 (3)4:5,11 24:17
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    611 (1)5:21
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            IN THE uI~II1'}81:> STATES DISTRICT QQURT
                Fon THE DISTRCT OF MARYLAND
CRYSTAL LONG,
                                  Civil Action No.
                   Plaintiff,
     v,                                   8:1'7-cv-01955~.GJH
PENDRICK CAPITAL PARTNERS II,
Lnc,
ABILITY RECOVERY SERVICES,
LLC,
EXPERIAN' INFORMATION
SOLUTIONS, ING.,
    AND
EQUIFAX INFORMATION SERVICES,
LLC,
              Qefendants.

                                 VERIFICATION
        I, Kim Nanfeldt, an authorized representative of Defendant, Ability
Recoveljy Services, LLC, verify th a t the fa cts s e t forth   in   Ability Recovery

Services, LLC's Second Supplemental Answers a nd Objections to P la in tiff,

Cxystal Longs First Intelrogatorics are true to the best of my knowledge,

information and belief.
                                                   4.




                                   4          ww( -       .8
                                                KIM NANFEL


Date:         ---..» ; / ?



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                              IN THE UNITED STATES DISTRICT COURT                        £? CHM
                                  FOR THE DISTRICT GF MARYLAND
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     CRYSTAL L6ivG,                                     |
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     PENDRICH CAPITAL PARTNERS II,                      I
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     ABILITY RECQVERY SERVICES,                        I
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    DEFENDANT, ABILITY RECOVERY SERVICES, LLC'S SECOND SUPPLEMENTAL
         RESPONSES AND OBJECTIONS TO PLAINTIFF, CRYSTAL LONG'S FIRST
    3 .|8QuEs'r Fon PRODUCTION 01? DOCUMENTS AND or!-IER TANGIBLE THINGQ

           Defendant, Ability Recovery Services, LLC ("ARS"), by and through its

    attorneys, Marshall Dennehey Warner Coleman 85 Goggin, P.C., hereby submits the

    following Second Supplemental Responses and Objections to Plaintiff, Crystal

    Longs ("Plaintift") First Request for Production of Documents and Other Tangible

    Things directed to ARS, stating as follows:

                                       PRELIMINARY STATEMENT

           As to each and every request contained in Plaintiffs Request for Production,

    ARS .s ta te s thc following:


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                1,      These responses are made pursuant: to the Federal Rules of Civil
                                                                                    by
         P roce dure and are based upon informatiorl Presently known                      ARS .      It is
         a nticipa te d th a t further discovery, investigation, legal research. and a na lys is will

         supply additional factual conclusions and legal contentions. ARS reserves the right

        to rely on. such additional discovery, investigsition, legal research and analysis, and

                                                and variations to these responses as warranted

        the re by.   These responses are made in a good fa ith e 1'l`ort to s u p p ly as mu c h

        informa tion a nd s pe cifica iziwn as is presently known, but shall not prejudice ARS in

        relation to further discovery, research or analysis.

               2.     Each response herein is s11bj.ect to all objections on any grounds that

        would require exclusion of all or part of any ste1tc.rh`6f1`f Hériain   'if Siilch i*éq13£¢8*t'w£r9"'

        a s ke d of, or statements c<>ntained herein were made by, 21 witness testifying at trial,

        all such objections being expressly reserved.

              3.      ARS' ide ntifica tion ot" documents and/or providing information herein

        shall not be construecl as an admission of ARS that any such document and/or

        information is either relevant or admissible for any purpose, including trial, in the

        above~1'eEe1~enced matter.

              4.     No incidental or implied admissions are intended by the responses

    made herein. The fact thaL ARS has answered or objected to any Request is not an

    admission that ARS admits the existence of any "facts" set forth or assumed by

    s uch re que s t.




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                                            GENERAL OBJECTIONS

             1.      ARS objects to all Requests that attempt to require it to provide

     irmformation and/ or documentation nnt within its possession, custody, or control., or

     within the possession, custody, or control of any of its representatives, employees,

     agents, or attorneys.

             2a      Thé absence 'of an objection that el Request is irrelevant is not intended

     to be a waiver of that objection and ARS reserves the right to object on relevancy

    gmuxlds at any stage of these proceedings.

             3.      ARS has responded to these Requests to the extent of its current

    knowledge and available in1`ormation. However, ARS' discovery and investigation in

    preparation for trial of this rnattcr has not bc~e11`C6MpIét€é'            of thé d9t€i"of the8r:".

    responses, and therefore, ARS does not purport to state anything more than the

    infonnation presently known to or discovered by it. ARS s pe cifica lly re s e rve s the

    right   tQ    s upple me nt, modify,   Ol`   amend its responses   01"   to present additional

    information at a later date.

            4.      ARS has based its responses upon the assumption that Plaintiff and

    did not intend to seek inibrmation protected against discovcry by the attorney-client

    privilege or the attorney work product doctrine. To the extent any Request or any

    part thereof is intended to elicit such information, ARS objects thereto and asserts

    the protection and privileges provided thereby to the fullest extent.

            5I      ARS objects to the Requests which attempt to require it to identify "all"

    persons with knowledge and documcmts on the grounds that such Requests are

    unduly burdensome, oppressive, and overbroacl.


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            6.    ARS objects to these Requests to the extent they utilize the word

     "identify" in such a manner as to render the Request unduly burdensome,

     oppressive and overbroad.

            7I    ARS objects to these Requests on the grounds that they are unduly

     burdensome and oppressive to the extent that the Rczquests require ARS to state

     specific facts, docuMents conv'ersations, agreements and personal knowledge upon

     which ARS bases a denial of an abstract, vague, general and incomprehensible

    a s s e rtion by ARS .   In many cases, it is difficult, if not impossible, t<> prove a

    negative or a nonexistence, particularly when ARS is given no specific facts to

    refute. Accordingly, ARS reserves its right to introduce any additional information

    when and if P1ai11tif`f` makes specific supported assertions.

           8,    Referencing and expressly incorporating each of these general

    objections, ARS hereby responds as follows:

    DEFENDANT, ABILITY RECOVERY SERVICES, LLC'S SECOND SUPPLEMENTAI,
       RESPONSES ANI) OBJECTIONS TO PLAINTIFF'S FIRST REQUEST FOR
         PROQUO'rION QF DOCUMENTS ANQ Q THEH TANGIBLE .THINGS

    1I     All documents relating to any amount you claim that plaintiff owes or owed

    you.

    RESPONSE:

       ARS has provided counsel for Plaintiff with its redacted account rwtes
    regarding its attempts to recover a debt obligationowed by CrystalLongto co-
    Defendant, Pendriels: Capital Partners II, LLC ("Pondrick").




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                     2.     All records of commLmications between plaintiff and you, including all

                     documents, records of telephonic communications, collection logs, court luotiws,

                     court filings, log books or other records from November 1'7, 2016 to the present.

                     This include s but is not ilmited to any oral communications; statements, demands,

                     notices or othe r oorrespondenccz fkom any source.

                     RESPONSE:
                      \

                       Objevtion. ARS objects to this Request on the grounds that it is vague,
                    overbroad and not calculated to lead to the discovery of admissible evidence.
                    Subject to and without waiving those objections, ARS responds that it has
                    provided counsel for Plaintiff with its redacted account notes regarding its
                    attempts to recover a debt obligation owed by Crystal Long to co-Defendant,
                    Pendrick.

    between yo1T3i'1'd any
                       All records
                            crmsumer
                                   of c5MEr{UHiCé
                                      reporting------~
                                                     'tion=§

                    agency regarding plaintiff, including all fumisher data, reinvestigation clocuments,

                    records of telephonic comrmmications, AUD's, CDV Consumer Dispute Verification

                    and ACDV [CDV response] and UDF {Universal Data Forml, and notices of blocking

nd notices of modification,
               sent pursuantsuppa.ession
                               to 15 U.S.C. §

81i(a)(5)(A).       or deletion sent pursuant to 15 U.S.C. §

                    RESPONSE:

                          ARS has provided counsel fo1'.P1aintiff with a copy of the automated
                    credit dispute ve-rificatious in its possession regarding the account at issue.

                    4.     All records of communication between you and Pendrick with any of the

                    Plair1tifPs personal idczntiflers. Please include any and all placement data that

                    resulted .in your pursuit of the Plaintiff for 'the alleged debt.




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 RESPONSE:

       ARS has provided sounsel for plaintiff with a copy of the documentation
 that it received from c¢.~-Defendant, Pendrick, opon its placement of the
 account with ARS for collection.

 5.    All contmcts between you and Pendrick that contain or mention any agency

 relationship, or that allow Ability to collect any debts on behalf of Pendrick.

I2E9ponsr8:

    Objection. ARS objects to this Request on the grounds that it is irrelevant,
vague, overbroad and not calculated to lead to the discovery of admissible
evidence. Subject to and without waiving these objections, ARS responds that
it has provided counsel for Plaintiff with a redacted copy of its contract
between it and Pendrick during the applicabie time period.                  .

68.    .Au documents containing the current names addresses and Lelephone

numbers of persons who communicated with plaintiff, worked on any aspect of the

collection account associateriwith Plaintiff, or commu11ical;ed with any consumer

reporting agency regarding Plaintiffs accou11L      Defendant may produce a list of

witnesses with names, addresses and telephone numbers in lieu of the documents

reques ted.

RESPONSE:

      Objection. ARS o b jects to this Req uest o n the g ro und s that it is
irrelevant, vague, overbroad and not calculated to lead to the discovery of
admissible evidence.

7.    All documents which you contend support your right to collect or report any

amounts due li'om the Plain tiff.




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      RESPONSE:

           Objection. ARS objects to this Request on the grounds that it is
     irrelevant, vague, overbroad and not calculated to lead to the discovery of
     admissible evidence, Subject to and without waiving these objections, ARS
     responds that it has provided counsel for Plaintiff with a copy of the
     documentation that it received from co~Defendant, Penclrick, upon its
     placement of the account with ARS for collection and a redacted copy of the
     contract between ARS and Pendrick.

     8.       All compuwized data .relating to P la intiff, P la intiffs de bt, P la ce me nt da ta for

     the account associated with the P1aintilT, and col.lc:ction elTorts.

     RESPGNSEI

        ARS has provided counsel for Plaintiff with its redacted aocaunt notes
     regarding its attempts to recover a debt obligation owed by Crystal Long to co-
     Defendant, Pendrick and a copy of the documentation that it received from
    "66~D6fendant, .Pendrick;u-pon-its placement .of theaocount wltl;.A8§'-:» _.f9IT
     collection.

     9.      All historical, archivsd or electronic record of any Metro Tape Data involving

     the P la intiff.

     RES P ONS E:

     None 5

     10.    All records of information received from public record vendors, skip tracers,

    or consumer reportingagencies relating in any way to PlaintiIT.

    RESPONSE!

          ARS has provided counsel for Plaintiff with a copy of the automated
    credit dispute verification in its possession regarding the account at issue.




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 11.     Documents stating the meaning or definition of any codes, shorthand, terms

 or abbreviations appearing in any of the requested documents.

 RES P ON8E!

    Upon a request from counsel for Plaintiff, counsel for ARS will explain any
 codes, shorthand, terms or abbreviaizicns utilized in ARS' account notes
 regarding ARS' attempts tu recover the account at issue.

 12.     A11 documents relating to the policies and p1*écedu1'es, ii' any, that are applied

 to you to any account (or consumer debt) when the debtor disputes an accoLmt

 d ire ctly with yo u .

RESPONSE:

    Gbjection. ARS objects to this Request rm the grounds that it is irrelevant,
OV`er"br6ad, ui§d1xIy*vag1ueancl---not~~-calculated to lead to ~the ...discovcry,~Q£.~
admissible evidence. ARS further objects to this Request on the grounds that
it seeks production of documentation which is, or may be, confidential and/or
proprietary in nature, the productican of whicxh would place ARS at a
competitive disadvantage in its industry.

13.     All documents relating to policies and procedures for responding to disputes

       yo u receive fro m 51 credit reporting agency regarding any information th a t yo u

fu rn is h e d to a cre dit re porting a ge ncy.

RESPUNSE:

    Ubjecticm. ARS objects to this Request on the grounds that it is irrelevant,
over broad, unduly vague and not calculated to lead to the disccrvery of
admissible evidence. ARS further objects to this Request on the grounds that
it seeks production of documentation wllicriz is, or may be, conficlential and/or
propri etary i n nature, the producti cn of whi ch woul d pl ace ARS at a
competitive disadvantage in its industry.




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         ]. 4.    A11 documents relating to policies and procedures to investigate thc accuracy

         and validity of the information that you receive from skip tracers.

         RESPONSE:

         Objection. ARS objects to this Request on the grounds that it is irrelevant,
         over broad, unduly vague and not calculated to lead to the discovery of
         admissible evidence.

         15.      All other docUmentary eviderxce that relates to Lhe P ia intiffs cla ims a ga irzs t

        you in this case,

        RESPONSE:

       Dbjection. ARS objects to this Request 011 the grounds that it is vague,
       overbroad and not calculated to lead to the discovery of admissible evidence.
       Subject to and without waiving these objections, ARS responds that it has
_   ` 'Pi-6iii'ded
          "'{`or"P1aintiff
                   66wi1se¥          with its redaoted aeeuunt notes~r~ega1-ding.it§,_
       attempts to recover a debt obligation owed by Crystal Long to co~Dei`endant,
       Pendriek.                                                   .

          enclant'8
        16.  All documents
                    or its attorney's
                              and/or correspondence in de§

        possession that refers tQ or relates to any I`act(s) which may be relevant in this case

        exclucfing letters between defendant and its attorney, or attorney work product.

        RESPONSE :

           Objection. ARS objects to this Request on the grounds that it is vague,
        overbroad and not calculated to lead to the discovery of admissible evidence.
        Subject to and without waiving these objections, ARS responds that it has
        provided oounsol for Plaintiff with its redacted account notes regarding its
        attempts to recover a debt obligation owed by Crystal Long to ccwbefendant,
        Pendricli.                    '




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 17,     All other documentary evidence that relates to your defenses or affirmative

 defenses.

 RESPDNSE:

    ARS refers Plaintiff to. its Answer to Plaintiffs Complaint with Affirmative
 Defenses whioh was filed on July 28, 2017 at ECF 17.

 1.8. .All exhibits that you intend to or may introduce at trial.

 RESPONSE:

   At the present time ARS has not made any decisions regarding exhibits
that it intends or may introduce at the trial of this matter. ARS reserves the
right to upctate its response to this Request, as discovery in this matter is
ongoing.

1-9r    All manuals, tests, video tapes, books or other documents pertaining to the

training and supervision ot' dcfenclemt's employees or agents as to compliance with

the Fa ir Cre dit Re porting Act.

RESPQNSE:

    Objection. ARS objectS to this Request on the grounds that it is irrelevant,
over broad, unduly vague: and not calculated to lead to the discovery of
admissible evidence. ARS objects to this Request on the grounds that it seeks
producti on of documentati on whi ch i s, or may be, confi denti al and/or
p r o p r i e t a r y i n na t ur e , t he p r o d uc t i o n o f w hi c h w o ul d p l a c e A R S a t a
competitive disadvantage in its industry. ARS further objects to this Request
on the grounds t ha t i t seeks the production of documentation which is, or
may be, subject to the attorney/client privilege and/o1' the attorney work
product doctrine.




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     20.     All cost/benefit analysis regarding expenciiturcs necessary for compliance

     with the Fair Credit Reportirmg Act.

     RESPONSE:

         Objection. ARS objects to this Requet on the grounds that it is confusing,
     irrelevant, vague, over broad and not calculated to lead to the discovery of
     admissible evidence.

     21.    A11 documents showing lawsuits, motions or other actioné Ngainst defendant

     for violations of the Fair Credit Reporting Act.

    RESPUNSE:

            Objection. ARS obj ects to thi s Request on the grounds that i t i s
     irrelevant, overly broad, unduly burdensome, not calculated to lead to the
      discovery of admissible or relevant evidence and is intended to harass and
     oppress ~ARS-~See~--Dewey.v.-Associates__Co1lecto.rs, .lnoo 927 F.sum2-_,_llZ3l,
     1175 (WJ). Wis. 1996); Powell v. Computer Credit, Inc., 975 F. Supp 1034,
     1039 (sn. Ohi o 1997){"tho Court shoul d consi der the del at ool l ector's
     noncompliance as to the individual plaintiff only, and not to others who may
     have been subject  .nderson   v. debt co1lector's noncompliance"); and _J§
                              to the
     Frederick J. Hann and Asso<;_i8tes, 361 F. Supp. Zd. 1879, 1884 (PLD. Ga.
     2005)(declining to consider FDCPA violations unzrelatecl to the present action);
     Cusumano. v. NRE, Inc., 1998 U.S. Dist. LEXIS 15418, *4-*'7, Case No. 96 C
     6876 (N.D. Ill. Sept. 22, 1998) {c1enyi11g motion to compel production of
     information about other litigation concerning collection pra.cticcs)(citing to
     Bye§ v. CreditBurenu  _       Enters., 1996 TLS. Dist. LEXIS 13559, *Z Civil Action
     No. 95-289 SECTION "I" (4) (E.D. La. Sept. 8, 1995)) and Richard v. Oak Tree
    Group, Inc., 2008 us. Dist. LEXIS 95002, *250, Case No. 1106-QV--862 {W.D.
    M i c h. N o v . 2 1 , 2 0 0 8 ) ( f i nd i ng t he r e a s o ni ng i n Dewey persuasive and
    concluding that the "frequency and persistence of non~comp1iance" does not
    include a debt 'co11ector's action with respect to nomparticsl. Additionally,
             4o4 clearly states, "evidence of a persoNs character or a trai t of
    character is not admisslble for the purpose of proving action in conformity
    therewith on a particular occasion..." The fact that ARS may have faoecl
    lawsuits in the past or may be involved in othex lawsuits presently is clearly
    character evi dence and nothi ng more and thus, i s nei ther rel evant nor
    admissible and is unduly burdensome in light of the claims asserted. Also, the
    information sought by Plaintiff in this Request is equally available to Plaintiff
    in the public domain.
I
        Case 8:17-cv-01955-GJH Document 63-11 Filed 04/20/18 Page 74 of 107



                                           MARSHAL DE        H           ER
                                           COLEIVIA          Gm

                                    By'
                                           RON'ALD m. mrarrcno .
                                           2000 Market Street, Suite 2300
                                           Philadelphia, PA 191.03
                                           (215) 575-2595 / (215) 575-2765 (I)
                                           rmmetoho@mdwcg.com
                                           Attorneys for Defendant
                                           Ability Recovery Services, LLC .
    Dated:    85 /2, w




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r      I




                Case 8:17-cv-01955-GJH Document 63-11 Filed 04/20/18 Page 75 of 107
                                                                             EXHIBIT




                                IN THE UNITED STATES DISTRICT COURT
    T o F MA R YL A N D           .1T9!8-'HzQE D1j5'pR]¢
           CRYSTAL LONG,
                                                      9Civil Action No.
                               P la intiff,
                                                      E 8:17»cv~O195Ei-GJI-I
                   v.

           PENDRICK CAPITAL PARTNERS II,
           LLC,

           ABILITY RECOVERY SERVICES,
           Lnc,

           EXPERIAN INFORMATION
           SOLUTIONS, INC.,

                  AND

           E:¢
           LLC,                                  .   §

                               De fe nda nts .


                    DEFENDANT, ABILITY RECOVERY SERVICES, LLC'S SECOND
                    SUPPLEMENTAL ANSWERS AND OBJECTIONS TO PLAINTIFF,
                          CRYSTAL LonG's FIRST InTERRoG'roRn3s

                  -D.g;fendant, Ability Recovery Services, LLC ("ARS"), by and through its

           attorneys, Marshall Dennehey Warne, Coleman 85 Goggin, p .c ., hereby submits

           the folldwing Second Supplemental Answers and Objections to Plaintiff, Clysixal

           Lor1g's First Inizcrrogatories acklressed to ARS, stating as follows'

                                         _8NEL1M1NARY STATEMENT

                  As to each and every request contained in Plaintiffs' First Interrogatories,

           ARS states the following:



                                                                                                 I
                                                                                                 E
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                1.      These -responses are made pursuant to the Federal Rules of Civil

        Proced.L1re and are based upon information presently known by ARS.                     It is

        anticipated that further discovery, investigation, legal research and analysis will

        s upply a dditiorla l fa ctua l conclus ions and legal contcuijons. ARS reserves the

        right to rely on such additional discovery, investzigamtion, legal research and

        a na lys is , a nd to ma ke s uch a dditions , cha nge s , and variations to these responses

        as warranted thereby. These responses are made in a good faith effort to supply

        as much information and specification as is presently known, but shall not

        prejudice ARS in relation to further discovery, research or analysis.

                2.     Each response herein is subject to all objections on any grounds that

        wm1-ld-require exclusion- 01' all.Qr---pa1° t of any statement .herein as if s11ch.req1.1es.I;

        wa s a s ke d of, or statements contained heroin were made by, a witne s s te s tifying a t

        trial, all such objections being expressly reserved.

               3.      ARS' identification of documents and/or providing information hereirl

        shall not be construed as an admission of ARS that any such document and/or

        information is either relevant or admissible for any purpose, inciucling trial, in the

        ab<>ve» refe1'enced matter.

               4,      No incide r1ta l   O1`   implied admissions are intended by the responses

        made herein. The fact that ARS has answered or objected to any Request is not

        an admission that ARS admits the existence of any "facts" set forth Qr assumed by

        s uch re que s t.
r   41




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                                            GENERAL OBJECTIONS

                   J..     ARS objects to all Interrogatories that attempt to require it to provide

         inforrnatzion and/ or documentation not within its possession, custody, or control,
                               I




         or within the possession, custody, or control of any of its representatives,

         employees, agenL8, or attorneys.

                     »     The absence of an objection that an -Interrogatory is irrelevant is noi;

         intended to be a waiver of that objection and ARS reserves the right to object on

         relcvancy grouxtds at any stage of these proceedings.

                   3.      ARS has responded to these interrogatories to the extent of its current

         knowledge and available information. However, ARS' discovery and investigation

         "in p re p a ré      fo r tria l o f th is matter has no t .been           Qf..thc .date of

         these responses, and therefore, ARS does not purport Lo state anything more than

         the information -presently known to or discovered by it. ARS specifically reserves

         the right to supplement, modify, or amend its responses or to present additional

         inf<>rmation at a later date .

                   4.      ARS has based its responses upon the assumption that Plaintiff and

         dicl not intend to :seek information protected against discoveziy by the attorney-

         client privilege or the attorney work product doctrine. To the extent any Request

         or any part thereof is intended to elicit such information, ARS objects thereto and

         asserts the protection and privileges provided thereby to the fullest extent.

                   5.      ARS objects to the Intcrrogatories which attempt to require it to

         iclentify "all" persons with knowledge and documents on the grounds that such
                              'i




         Requests are unduly burdensome, oppressive, and overbroad.
r


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            6.      ARS objects to these Interrogatorics to the extent they utilize the word

     "i denti fy" i n such a manner as to render the Request undul y burdensome,

     oppressive and overbroad.

            7.     ARS objects to these Interrogatories on the grounds that they are

     u11duIy burdensome and oppressive to the extent that the interrogatories require

     ARS to atate .specific facts, documents conversapions, algreernents and personal

     knowledge upon which ARS bases a denial ol` an abstract., vague, general and

     inc o mpre he ns ible a s s e rtio n by AR S .   I n ma n y c a s e s , i t i s difficult,   if not
     impos s ible , to p.rove a negative or a nonexistence, particularly when ARS is given

     no specific facts to refute. Accordingly, ARS reserves its right to introduce any

    "Eutiditionml 'informaticm when         if-Plaintiff makes specific -supp@rt;<:d--assertions.

           8,      R<~fc:renci11g and expressly in.co1° pora1:ing each of these general

    objections, ARS hereby responds as t0llowsr

                DEFENDANT, ACCOUNT RESQLUTION SERVICES, LLC'S
         § J'PPLEME1YTAL ANSWERS AND OBJEQTIONS TO PLAINTIFF'S FIRST
                              INTERRQ-GAT0RIE3

     1. Identify Ml persons who are likely to have personal knowledge of any fact
    alleged in the Complaint, and any defense alleged in your Answer, and state the
    subject matter of the personal knowledge possessed by each such person -
    including any of your employees who, in any way, handled or s'upervi.secl any
    matters in connection with Piai11tiiTs disputes to you, your credit reporting or
    furnishings about Consumer, and any of your communications with Consumer or
    any credit reporting agency regarding Plaintiff.
I


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     ANSWER:

        Objection. ARS objects to this Interrogatory on the grounds that it is
     vague, ovex-broad and not calculated to lead to the discovery of admissible
     evidence, Subject to and without waiving theae objections, ARS responds
     that Plaintiff, Crystal Lcvng, arepresentative of Plaintiffs employer from
    September 2016 through May 2017 with access to the emp1oyer's employee
    handbook and guidelines, Him Nanfeldt of ARS, Mark Carlson of ARS, a
    representative of co-I)efendant, Pendriok Capital Partners II, LLC
    ("Pendrick"|, a representative of co-Defendant, Experian Information
    Solutions, Inn. ("Experian") and a representative of co-Defendant, Equifm
    Informatinn Services, LLC ("Equifax") have personal knowledge of the facts
    alleged in Plaintiffs Complaint: and ARS' defenses.

    2. Iclentify any persons or entities whom you contend are persons needed for just
    adjudication within the meaning of Fed, R. Civ. p. 19, but who have not been
    named by Plaintiff.

    An3wER§

       Objection. » JARS objectsto this Interrogatory on the grounds that it is
    vague, overbroad and not calculated to lead to the discovery of admissible
    evidence.

    s. If any person covered on an insurance business might by liable to satisfy part
    of all of a judgment that might be entered in this action or to indemnify or
    reimburse fOr payments made to satisfy the judgment, identity that person, state
    the applicable policy limits of any insurance agreement under which the person
    might be liable, and describe any question or challenge raised by the person
    relating to coverage for this action [Standard General lnterrogatory No. 5)

    ANSWER:

       ARS does not have any information which is, or may be, responsive to
    this Interrogatory, as it is effectively self insured against Plaintiffs claims in
    her Complaint.

    4. For each wi,t.r1ess you have retained or specially employed to provide expert
    testimony in this case, or employed by you whose duties regularly involve giving
    expert testimony and whom you expect to testify at trial, provide a complete
    statement of the opinions to be expressed and the basis and reasons therefore.
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ANSWER:

  At the present time ARS has not made any decisions regarding expert
witnesses that it may utilize in this matter. ARS reserves the right to
update its response to this Interrogatory, as discovery in this matter is
ongoing.                         -

5. Please state the full name, address, job title, occupation and name and address
of thé present employer of each person answering 01° assisting in answering these
interrogatories op your behalf.

ANS WER:

   Kim Nanfeldt -. Collection Manager at ARS.

6. Itemize and show how you calculate any debt owed by Plaintiff to Pendrick by
Ability.

ANS WER:

   Objection. ARS objects to this Interrogatory on the grounds that it is
vague, overbroad and not calculated to lead to the discovery of admissible
evidence. Subject to and without waiving these objections, ARS responds
that it relied on the information provided by co~Defendant, Pendrick, when
determining the amount of the debt at issuze that it rsnught to recover from
Plaintiff,

7. Identify by name, publisher, publisher's address, vendor and ven.dor's address,
any commercial software which you use to maintain, bill, collect, or report any
i nformati on rel ati ng to your consumer accounts or appl i cati on i nformati on
relating to your cons-mrnc1'.acc.ou11ts .

AN8WER:

   Comtronic Systems » Debtmastzer Prufessional




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     8. Please identify the date, recipient, and content (as recorded by Metro or Metro
     2 data) of each occurrence during the preceding five years in which you reported
     co credit data regarding Plaintiff. if you have reported such data, state whether
     such reportings were made pL11.suant to an express or written authorization by
     you for the relevant consumer reporting agency to report that data.

     ANS WER:

        On December 28, 2016 ARS reported to the credit bureaus "Unknown SSN
     84 D/O/B." Du Fehruary 34, 2017 and May 24, 2017? after engaging in
     reasonable investigations, ARS furnished information to the <:redit bureaus
     regarding Plaintiffs accnunt being deemed accurate. On June 12, 2017 ARS
     notified the credit bureaus to delete ai! trradeliine information regarding the
     account at issue.

    9. Identify by name, home address, telephone number, and date of birth, each
    individual employed by Ability in the preceding 5 years who supervised
    reinvestigations of credit data report;ecl to any consumer reporting agency for you.
    Include in you ai'iév6'er"a.des<iri;8itf61*I"6f .t1ie.ihdividua1's job tiide and the'dates"uf
    employment of the individual.                                                    '

    ANSWER :

       Cassandra Groshek, Collection Representative, from February 15, 2017 to
    the present;

       Shannon Saxon Price, Clerical Employee, from April 26, 2016 ta the
    present; and

      Susan Cooper, Glarical Employee, from April 24, 2017 to December 1,
    2017.

      All three individuals supervised reinvostigations of credit data. reported to
    consumer reporting agencies during the applicable time period.

    10.           In light of the allegations in the Complaint, please identify each
    incident where .you erroneously verified credit inlbrmation relating to Plaintiff
    which should nbt have been verified.



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     ANSWER:

       Objeotion. ARS objects to this Interrogatory on the grounds that it is
    confusing, vague, ovezrbroad and not calculated to lead to the discovery of
    admissible evidence. Subject to and withoui: waiving these objections, ARS
    responds that it does not have any information that is, or may be, responsive
    to this Interrngatory, as it did not erroneously verify credit information
    relaygad £0 Plaintiff which allegedly should nat have been verified.

    11.             In light of the allegations in the Complaint, please identify each
    action taken by you in veril'ying the credit information relating to Plaintiff upon
    notification of each dispute from either the consumer directly, or from at credit
    reporting agency.

    ANS WER:

       .Qbi§¢_ti¢!;__48§._°M¢°*s .to this Interrogatory on the grounds that it is
    confusing, vague, overbroad and not calculated to lead to the&iscoveryof -
    admissible evidence. Subject to and without; waiving these objections, ARS
    responds that it investigated disputes received by Plaintiff by reviewing
    Plaintiffs disputes, the dcxmxrnentation in its possession, the documents in
    Pendrick's pozssessaion and conversations with Pendriok to determine that the
    information that was being furnished to the -Qredit bureaus was accurate.

    12.            Please explain and describe Abi1ity's actions to assess or identify
    the risks and potential for harm to consumers arising from inaccurate credit
    reporting by Ability.

       AN8WI8R:

       Cibjeatsion. ARS objects to this Interrogatnry on the grounds that it: is
    confusing, vague, overbroad and not calculated to lead to the discovery of
    admissible evidence. Subject to and without waiving these objections, ARS
    responds that lt does not have any information in its poasessicm which is, or
    may be, responsive to this Interxfogatory.




                                                         .>
    Case 8:17-cv-01955-GJH Document 63-11 Filed 04/20/18 Page 83 of 107




18.            Describe every step taken by you to investigate Consume1"s dispute
of your account and consUmer credit data which was reported to the national
consumer reporting agencies-~inc1uding the identity, home address, telephone
number, social security number and date of birth of witnesses interviewed and
persons conducting the. investigation; documents requested and reviewed,
communications with the national consumer reporting agencies, description of
any computer systems queried or other investigative means employed. Please
include reference to the matter in which the data in this ease wesinveetigated,
Abi1iLy's understanding as to how it continued to be placed 'm Consumers credit
files and reports and whether Ability took any steps to have that information
removed or altered so as to prevent said data from being incorrectly attributed to
Consumer.

ANSWER:

      Objection. ARS objects to this Interxogatory on the grounds that it is
confUsing,"~7a8ue, evé t bfoud and nut caleulatedfolead to the discovery of
admissible evidence. Subject to and without waiving these objections, ARS
responds that it investigated disputes received by Plaintiff by reviewing
Plaintiffs disputes, the documentation in its possession, the documents in
Pendriokks possession and conversations with Pendriek to determine that the
information that was being furnished to the credit bureaus was accurate.

14, Identify the date, time, matter, purpose and individuals responsible for each
incident in which Ability obtained access l.o Long's eonsumer credit or any
consumer report at any time during the preceding 3 years.

AMSWERI

   Objection. ARS objects to this Intarrogatory on the grounds that it is
confusing, vague, overbroad and not calculated to lead to the discovery of
admissible evidence. 8ubject to and without waiving these objections, ARS
responds that it does 'not possess any information that is, 01' may be,
responsive to this Interrogatory, as it did not access Plaixntiffs credit reports
at any time during the preceding three years.
I


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                                 I




     15. Idenfzify the true creditor of any account which Ability reported in
     association with Consume1~'s personal idcntifiers-including but not limited to the
     holder o'f the account or securitization trust which ownecl the credit obligation-
     and the nature of any relationship between Ability and that creditor.

     ANSWER:

        Objection. ARS objects to this Intex-rogatory on the grounds that it is
     confusing, vague, overbroad and not calculated to lead to the discovery cf
     admissible evidence. Subioct to and without waiving these objections, ARS
     responds that it attempted tzo recover a valid and delinquent debi; owed by
     Crystal Long to co-Defendant, Pendrick.

     16. Identily by description, author, date of creation any documents which have
     been requested by the Plaintiff, but which have been withheld on the basis of
     trade secret, confidentiality or privilege.

     ANSWER:

          ARS' applicable policies and procedures regarding disputes, any
    policies or procedures received from the credit bureaus and skip tracing, to
    the extent that such documents exist and ARS' training and supervisory
    materials.

     17. Icientify-~inc1ucling. Case number, venue, parties, amount of any settlement
    or judgment paid by Ability-every lawsuit in which you were alleged to have
    improperly re ported or reinvestigatcd credit reporting data relating to a consumer
    report,

    ANSWER :

       Objection. ARS objects tc this Interrcgatory in that it is irrelevant, overly
    broad, unduly burdensome, not calculated to lead to the discovery of
    admissible or relevant evidence and irs intended to harass and oppress ARS.
    Sec Dewey v. Associatcs <3_gj1eetors, Inca., 927 F.$upp. 1172, 1175 (W.D. Wis.
    1996); Powell v. Computer Crodit, Inc., 975 F. Supp 1024., 1439 (S.D.. Ohio
    1997)("thc Cullrt should consider the debt collector's noncompliance as to
    the individual plaintiff only, and not to others who may have been subject to
    the debt co1Iector's nonccmp1ianoe"); and Andc1.son__v .Frede1rick J, Hann and
    Associates, 361 F. Supp. 2d 1879, 1884 (NJ). Ga. 2OQ5)(dec1ining to consid-cr
    FDCPA violations unrelated to the prcscht action); Cusumano v. NRB, Inc.,
    1998 U.S. Dist. LEXIS 15418, *4--*7, C3813 No. 96 C 6876 (N.D. 111. Sept. 22,
    1998) (denying motion to compel production of' information about other
   f

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           lltigatian concerning colloction practices)(citing to Byes v, Cregllt Bureau.
           Enters.., 1995 U.S. Dist. LEXIS 13559, wg Civil Action No. 95-239 SECTION 11111
           (4) (E.D. La. Sept( 8, 1995)) and Richard v-._ Oak I`_ree Group) Inq., 2008 U.S.
           Dist. LEXIS 95002, *20, Case Wo. 1:06~ov-862 (WJ). Mich. Nov. 21, 2008)
           (finding the reasoning in Dewey persuasivd and concluding that the
           "frequencty and persistence of non~compliance" does not include a debt
           co1lecto1-'s action with respect to non~parties). Additionally, F.R.E. 404
           clearly states, "evidence of a persoxfs cl1aracl;er or a trait of character is not
           admissible for the purpose of proving action in confermity therewith on a
           particular occasicvii; " ."' The fact that ARS may have faced lawsuitsin the
                                 q



           pzust or may be involved in other lawsuits presently is clearly characzter
           evidence and nothing more and thus, is neither relevant non' admissible and
           is unduly burdensome in light of' the claims asserted. Also, the information
           sought by Plaintiff 111 this Interrogatory is equally available to Plaintiff in the
           public domain.

            18, Please state, explain and describe the contents of each and every CDV
and ACDV   ..[Qsmsu§             Qc_-Ij_... .. -     [CDV response] and UDF [Univczraal
           Data Form] you received, sent or possessed at any time' vlilixch bor6"any"'5f
           plaintiffs personal identifiers.

           AMSWER;

                 011 December 28,. 2016. ARS reported tu the credit bureaus "Unknown             ie
           SSN a»D/O/B." On February 24-, 2017 and May 24, 2017, after engaging in
           reasonabls investigations, ARS furnished infurmation to the credit bureaus
           regarding the account at issue being deemed accurate. Cm June 12, 2017
           ARS directed the credit bureaus to delete all tradeline informatiorn regarding
           the account at issue.

           19. Please state, explain and describe all of the information or data that you
           received from Pendriok that resulted in you attempting to collect money from. The
           Plaintiff.

           ANSWER:

                  Craunsel for ARS has provirlad counsel for Plaintiff with the placement
           file that it received from Pendrick regarding Plaintiffs account.

           20. For each paragraph of plaintiffs Complaint (as amcnded).1`o1' which you deny
           the allegations, please explain and describe any facts which you believe ma
           support each denial.
     a




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          ANS WER!

                 ARS refers Plaintiff to its Answer ta Plaintiffs Complaint, whioh was
          filed on July 28, 2017 at EOF 17.
          21. Please state the dates and exact contents of each reporting, which bore any
          of plaintiffs personal identiliers, you made to any consumer reporting agency(ies)
          (as defined by 15 U.S.C. 168181) to which you sL1bscribe(ecI).
J




          ANSWER z


            On December 28, 2016 ARS notified the credit bureaus "Unknown SSN Ba
         D/0/B."     O n F e b r u a r y 2 4 , 2 0 1 7 a n d M a y 2 4 , 2 0 1 7 , after engaging i n
         reasonable investigations, ARS furnished information to the credit bureaus
         regarding Plaintiffs account being deemed accurate. On June 12, 2017 ARS
         nutified the credit bureaus to delete all tradeline information regarding the
         account at issue.

    =tse.-explairr
          22'f.""-P1e¥
                   -and describe your specific -alloea-t1o14, in-percentages and/or
          dollar amounts, of your resources committed to reinvestigation of consumer
          disputes complaining that your credit account[s) were created by or otherwise
          resulted from application fraud in thc past S years.

         ANSWER:

               Gbjection. AR8 objects to this interrogatory on the grounds that it is
         confusing, irrelevant, unintelligible, vague, 0verbroacl and not calculated to
         }ead to the discovery of admissible evidence.

         288.    Please state your net income for each of the preceding eight (8) quarters.
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ANSWER:


       Objection. ARS objects to this intterrogatory on the grounds that it ia
irrelevant, vague, overbroad and not calculated to lead to the discovery of
admissible evidence. By way of furtlxer response, the information sought in
thia Interrogatory is irrelevant, as this matter was not filed as a class action
lawsuit.

                                          MARSHAL      BNNE             ER
                                          COLE           GG      P.C

                                    By:
                                          RONALD M. METCHO
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                                          Philadelphia, PA 19103
                                          (215) 575-2595 / (215) 575-2765 (1)
                                          rmmeLcho@mdwcg.com
                                          Attorneys for Defendant
                                          Ability Recovery Services, LLC
Dated:    2,/Z1
                                           Case 8:17-cv-01955-GJH Document 63-11 Filed 04/20/18 i Pageexhibit
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                                                                                                  FACT SBOBEf
CRS        II :                                DC 6 6.1.?.                                                                                      Client # :               'MCTWNR—H
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                                               LONG, CRYSTAL                                                                                    I '.IMC ARK - R AWDAL I , KMKRGKNC Y                                              R
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          Unless Xou notify this ofiice within30             al`ter roceiving this notice that you disute the validity of tho dobt or any portion thoroof.
          this oiiicc will assumo this debt I valid. I you notiify this olTice in writing within 0 days fiom reueiving this notice, this office wiil
          provide you the name and address ofthe original cnWitor, if clilfercnt from the currcnt creditor. lfyou t\otiiy thin oflico in writing
            »              v.                                        I      •
          within the tlxirlyidny pluurind thlll the débt, m' au.y_portlcn tlacleot is dlhlggltod, this otliole will ohhlm volihoati86 ofthe dub! or a copy of
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          u _|udgmont against you and 41 copy ofsuch vcn'¥ioanon orjudgmczil will bc mtulod to you by this ol`f`icc.
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          At this time we a1rool`|bring xx 25% disctuuuton thc amount you owe. Ifwc receive thediscounted amountwithin 30 days, you will
          have no lilrthcrobhgaiion tous regarding thc:delinquentaccount.
          WA'l'cll---
                                 Your                                         Discount                                                       Discounted
                                Balanca                                        Percent                                                    Am ount                    Duc

                                    $74.00                                       25%                                                               $55.50

          In ovdpr to ensure pm r emdlling and bundling ol` your account, paynwm must be mactc payable to Ability Rccovcry Sorvicos, LLC
          amd lcmitlcrl so this ot csc.

          Bc f`urtI1cr advised tltul om' cliént has instruotud this oilicc lo malw n direct report to a credit reporting ugoncy should this dcbl go
          unrcsolvcd.
          Sincerely,
          ADAM Russnal L
          Acrsonnl Rcprcscnialivu
          lass)207. I892x502
          'rms IS A commun|cATron FROM A Df8B'|' COLLECTOR. THIS IS AN A'l"l`l8,Ml'T TO COLLECT A'[_)]8[3'|~ ANY
          INFORMATION OBTAINED w1LL BB USED FOR THAT PURPOSE.

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           CRYSTAL LONG                                                                   |anIl|xaa||JsHru1|x'|nUnn|||»|l||n|x||||mllsUnnN
     8     12706 FAIRWQUD PKWY                                                              ABILITY RECOVERY SERVICES LLC
           BOWIE MD 20720-6304                                                              PG BOX4262
                                                                                            SCRANTON PA 185054262
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                                                                                                                                                       Tel: 855.207.1892

         CRYSTAL LQ NG                                                            Account li:                 4022448                                November 14, 2016
         12706 FAIRW OQD PKW Y                                                    Bnlallce Duc:               $I, I25.00
         [I0W II8 MD20720-'6304                                                   Former Creditor:            BMCARE-RANDALL EMERGENCY PHYS.
                                                                                  Creditor:                   Pcudrick Capital Partners I l
                                                                                  Cli¢nl Rcl`f!:              0936475054238 I960346

         Dear CRYSTAL LONG,

         Our office has been rcluined by Pcndrick Capital Partners II who has purchased your account from }3MCARE~RANDALL
         EMERGENCY PHYS. to collcct thc above ovcndue account. 8`|a\1: is               '  :w"'"M"to resolve this debl. If this matter has
         been overlooked, plcusc bc awam that it is still leally owed.                           ccrtilicd limds, funds tnansfcl' or orWit
         hard in lisll will cease all collwtion aclivily.
         Unless you notify this oflicc within 30 ""l° after receiving this notice that you dispute thc validity ofthe debt or any portion thoteoh
         this ofhco will assume this dobt I valid. I you notify this o|Tico in wtiting within 30 days liom receiving this notice, this oliico will
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         within the Utirtyiilny iwriocl that tho debt, or any portion thereof; ts disputed, this office will obtam verification ol' the Och! or a copy of
         ujudgmcnt against you and tt copy ol' such vcrilicution or judgment will bo muilW to you by this oltioe.
         A1this iimx: wc arc offering a 25% discount on thc amount you owa. Ifwe rcocivc tho discounted amount Within 30 days, you will
         have no further obligation to us regarding tho delinquent account..
         W ATCH

                                   Your                                          Discount                                                 Discmuxtcd
                                  Balance                                        Percent                                                  Ameunt Due

                                 $1, 125.00                                         25%                                                       $843.75
         In order ta unsure proper orcditingzmd handling ofyour account, payment must be madc payable to Ability Recovery Survicos, LLC
         and remitted to this ofTicc.
         Be iilrlher aclvixed that our client haw inslmcted this ollicc to make an direct rcporl no a credit mpnrfing agency should this dobt go
         unresolved.

         Sincerdy,
         ADAM RUSSELL
         Acaoumt Rzgnasuntutivc
         (855)207-1 9299502
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                                                           Crystal Long
                                                       12706 Fairwood Pkwy
                                                        Bowie, MD20720

    Junuary31,20l7

    Experian
    P.O. Box 4000
    701 Expexfan Parkway
    Allen, Texas 75013

            DISPUTE OF INACCURATE INFORMATION AND REQUEST FOR A REINVESTIGATION

    FULL NAME: Crystai Long
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    CURRENT ADDRESS : 12706 Fairwood Pkwy

    DATE OF BIRTH: March 13, 1980

    TELEPHONE NUMBER: 30 I -464-3643

    SOCIAL SECURITY NUMBER: XXX-XX-XXXX

    SPOUSE'S NAME: Not Married

    DlSPUT.E=.. Creditor: Ability Recovery Services LLC

                   Inacgurate Information' The balance of $ I , 125 is not mine, that whole trade line is reporting in
    error. I spoke with Ability Recovery Services, and told them I did not recognize the account. Thy said that
    Pendrick Capital Partners sent it for collections, forsewices rendered September 2014. Iwas never there. The
    date of birth was not my date ofbixth. This whole trade line needs to be deleted.

                               PLEASE CORRECT THE INFORMATION AS soon AS POSSIBLE

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                                          Long
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                                                    Crystal Long
                                                12706 Fairwood Pkwy
                                                 Bowie, MD 20720

  Januar;/31,2017

 Equifax
 P.O. Box 740256
 Atlanta, GA30374

     DISPUTE OF INACCURATE INE QRMATION AND RE QUE ST FORA RMNVESTIGATrO_N

 FULL NAME: Crystal Long
                                     .

 CURRENT ADDRESS: 12706 Fairwocwd Pkwy

 DATE OF B IRTH: March I 3, 1980

 TELEPHONE NUMBER: 301~464-3643

 SOCIAL SECURITY NUMBER: 217-94~9930

SPOUSE'S NAME: Not Married

DISPUTE:             Creditor: Ability Recovery Sewices LLC

               Inaccurate Information: The balance of $1,125 is not mine, that whole trade line is reporting in
error. I spoke with Ability Recovery Services, and told them I did not recognize the account. Thy said that
Pendrick Capital Partners sent it for collections, for services rendered September 2014. I w8s never there, The
date of birth was not my date of binh. This whole trade line needs to be deleted.

                     PLEASE CORRECT THE1nFoRmATzot~t AS SOON AS POSSIBLE




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                                                    Crystal Long
                                                12706 Fainvood Pkwy
                                                 Bowie, MD20720

January31,20l7

TransUnion Consumer Solutions
P.O. Box 2000
Chester, PA 19022~2,000


    DISPUTE OF INACCURATE INFORMATION AND REQUEST FOR A REINVESTIGATION

FULL NAME: Crystal Long

CURRENT ADDRESS: 12706Fairwood Pkwy

DATE OF BIRTH: Ma rch 13, 1980

TELEP HONE NUMBER: 301-464-3643

SOCIAL SECURITY NUMBER' XXX-XX-XXXX

SPOUSE'S NAME: Not Marded

DIS P UTE:           Creditor: Ability Recovery Sewices LLC

                Inaccurate Information: The balance of $1 ,125 is not mine, that whole trade line is reporting in
error. I spoke with Ability Recovery Services, and told them I did not recognize ihe account, Thy said that
Pendrick Capital Partners sent it for collections, for services rendered September 2014. lwas never there. The
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